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                7   Attorneys for Defendants Ira Brannon

                8                                         UNITED STATES DISTRICT COURT

                9                                                  DISTRICT OF NEVADA

              10    JOSEPH L. MIZZONI,                                                     Case No. 3:15-cv-00499-MMD-WGC

              11                                         Plaintiff,                        DEFENDANT’S ANSWER TO
                                                                                       PLAINTIFF’S AMENDED COMPLAINT
              12    v.                                                                             (ECF No. 7)

              13    STATE OF NEVADA et al.,

              14                                         Defendants.

              15            Defendant, Ira Brannon, by and through counsel, Adam Paul Laxalt, Attorney General of the State

              16    of Nevada, and Erin L. Albright, Deputy Attorney General, hereby answer Plaintiff’s Amended Complaint

              17    (ECF No. 7) in the above-entitled action as follows.

              18    A.      JURISDICTION

              19            1.         Defendant admits Plaintiff Joseph Mizzoni (hereinafter “Mizzoni”) is presently

              20    incarcerated at High Desert State Prison (“HDSP”) located in Indian Springs, Nevada. Defendant

              21    denies any and all remaining allegations set forth in this paragraph.

              22            1.1        Defendant denies that Christopher Smith is employed by the Nevada Department of

              23    Corrections as a Correctional Disciplinary Writeup Officer. Defendant denies any and all remaining

              24    allegations in this paragraph.

              25            2.         Defendant admits Ira Brannon is employed by the Nevada Department of Corrections as

              26    a Correctional Lieutenant assigned to Northern Nevada Correctional Center. Defendant denies any and

              27    all remaining allegations in this paragraph.

              28            1
  Office of the                  Mizzoni duplicated the use of the number one (1) and therefore Defendants respond accordingly for consistency.
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                1           3.     No response is required as this named Defendant has been dismissed from this litigation
                2   pursuant to this court’s order (ECF No. 10) filed on September 2, 2016.
                3           4.     No response is required as this named Defendant has been dismissed from this litigation
                4   pursuant to this court’s order (ECF No. 10) filed on September 2, 2016.
                5           5.     No response is required as this named Defendant has been dismissed from this litigation
                6   pursuant to this court’s order (ECF No. 10) filed on September 2, 2016.
                7           6.     No response is required as this named Defendant has been dismissed from this litigation
                8   pursuant to this court’s order (ECF No. 10) filed on September 2, 2016.
                9           7.     Defendant admits that this court has jurisdiction pursuant to 28 U.S.C. § 1343(a)(3) and
              10    42 U.S.C. § 1983. Defendant denies that jurisdiction is proper on any other basis.
              11    B.      NATURE OF THE CASE
              12            Defendant admits Mizzoni had a disciplinary hearing in May 2015. Defendant admits Mizzoni
              13    has rights under the Fourteenth Amendment. Defendant denies any and all remaining allegations on
              14    pages 3–6 of the Amended Complaint.
              15    C.      CAUSE OF ACTION
              16            COUNT I:       DENY
              17            Defendant admits Mizzoni has rights under the Fourteenth Amendment of the United States
              18    Constitution. Defendant denies those rights, or any right owed to Mizzoni was violated at any time or
              19    in any manner. Defendant denies any and all remaining allegations in this paragraph.
              20            SUPPORTING FACTS:
              21            1.     Defendant admits Administrative Regulation 707 sets forth the Disciplinary process.
              22    Defendant further admits Lt. Brannon was the disciplinary hearing officer at Mizzoni’s disciplinary
              23    hearing in May 2015. Defendant denies any and all remaining allegations in this paragraph.
              24            2.     Defendant denies any and all allegations in this paragraph.
              25            3.     Defendant admits Mizzoni received a Notice of Charges for misconduct. Defendant
              26    further admits Mizzoni was given a disciplinary hearing. Defendant denies any and all remaining
              27    allegations in this paragraph.
              28    ///
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                1   D.      PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF
                2           1.     Defendant is without knowledge to admit or deny, and denies on that basis.
                3           2.     Defendant is without knowledge to admit or deny, and denies on that basis.
                4           3.     Defendant is without knowledge to admit or deny, and denies on that basis.
                5   E.      REQUEST FOR RELIEF
                6           Defendant denies Mizzoni is entitled to any of the relief sought in the Amended Complaint at
                7   pages 14–15 of the Amended Complaint.
                8   F.      ADDITIONAL ALLEGATIONS
                9           Furthermore, as to any remaining allegations contained in the Amended Complaint not
              10    specifically admitted or denied herein above, this Defendant hereby denies all such allegations.
              11    G.      AFFIRMATIVE DEFENSES
              12            Defendant also asserts the following Affirmative Defenses:
              13            FIRST AFFIRMATIVE DEFENSE
              14            The Amended Complaint fails to state a claim upon which relief can be granted.
              15            SECOND AFFIRMATIVE DEFENSE
              16            Defendant was not personally involved in the cause in fact and/or the proximate cause of the
              17    alleged constitutional deprivations.
              18            THIRD AFFIRMATIVE DEFENSE
              19            This action is time-barred by applicable statutes of limitations.
              20            FOURTH AFFIRMATIVE DEFENSE
              21            Defendant at all relevant times acted in good faith toward Mizzoni, therefore, Defendant is
              22    entitled to qualified good faith immunity from damages.
              23            FIFTH AFFIRMATIVE DEFENSE
              24            Defendant is entitled to qualified and absolute immunity.
              25            SIXTH AFFIRMATIVE DEFENSE
              26            At all relevant times herein, Defendant acted in accordance with applicable law and prison
              27    procedures that are constitutionally required.
              28    ///
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                1          SEVENTH AFFIRMATIVE DEFENSE
                2          Mizzoni failed to state a cognizable constitutional claim under 28 U.S.C. § 1343 (a)(3) and 42
                3   U.S.C. § 1983.
                4          EIGHTH AFFIRMATIVE DEFENSE
                5          Mizzoni failed to mitigate damages, if any, and therefore, is barred from seeking any damages
                6   hereunder.
                7          NINTH AFFIRMATIVE DEFENSE
                8          Mizzoni was himself negligent in his conduct and such negligence is the sole, primary and
                9   superseding cause of any damages sustained by him, if any.
              10           TENTH AFFIRMATIVE DEFENSE
              11           Mizzoni’s punitive damage claims are barred by law.
              12           ELEVENTH AFFIRMATIVE DEFENSE
              13           Defendant is immune from liability because the acts complained of were discretionary in nature
              14    or were performed while carrying out a statute or regulation.
              15           TWELFTH AFFIRMATIVE DEFENSE
              16           At all-time relevant, Defendant held a good faith belief that he was acting reasonably and that
              17    his actions were privileged and legally justified.
              18           THIRTEENTH AFFIRMATIVE DEFENSE
              19           Mizzoni failed to exhaust administrative remedies as required by the Prison Litigation Reform
              20    Act.
              21           FOURTEENTH AFFIRMATIVE DEFENSE
              22           Mizzoni’s conduct constitutes a waiver of any alleged wrongful conduct undertaken by the
              23    answering Defendant.
              24           FIFTEENTH AFFIRMATIVE DEFENSE
              25           Mizzoni’s conduct ratified any alleged wrongful conduct by the answering Defendant.
              26           SIXTEENTH AFFIRMATIVE DEFENSE
              27           Defendant is immune from liability as a matter of law.
              28    ///
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                1           SEVENTEENTH AFFIRMATIVE DEFENSE
                2           Defendant reserves the right to amend his reply to allege additional affirmative defense if
                3   subsequent discovery so warrants.
                4           EIGHTEENTH AFFIRMATIVE DEFENSE
                5           The negligence of Mizzoni caused or contributed to any injuries or damages which Mizzoni may
                6   have sustained, and the negligence of this Defendant, if any, requires that the damages of Mizzoni be
                7   denied or diminished in proportion to the amount of negligence attributable to Mizzoni.
                8           NINETEENTH AFFIRMATIVE DEFENSE
                9           Defendant cannot be sued for monetary damages while acting in his official capacity in a civil
              10    rights action.
              11            TWENTIETH AFFIRMATIVE DEFENSE
              12            Mizzoni is estopped from pursuing any claim against Defendant in accordance with equitable
              13    principles of jurisprudence.
              14            TWENTY FIRST AFFIRMATIVE DEFENSE
              15            The doctrines of res judicata and/or collateral estoppel bar Mizzoni from asserting the matters
              16    set forth in his Amended Complaint and also acts as a bar to any relief sought by Mizzoni.
              17            WHEREFORE, Defendant prays for relief as follows:
              18            1.       That Mizzoni takes nothing by virtue of his Amended Complaint;
              19            2.       For attorney fees and costs of suit herein.
              20            DATED this 9th day of February, 2017.
              21                                                    ADAM PAUL LAXALT
                                                                    Attorney General
              22
              23                                                    By:
              24                                                          ERIN L. ALBRIGHT
                                                                          Deputy Attorney General
              25                                                          Bureau of Litigation
                                                                          Public Safety Division
              26
              27                                                          Attorneys for Defendant

              28
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                1                                     CERTIFICATE OF SERVICE
                2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
                3   on this 9th day of January, 2017, I caused to be deposited for mailing a true and correct copy of the
                4   foregoing, DEFENDANT’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT (ECF No.
                5   7), to the following:
                6   Joseph Mizzoni #68549
                    High Desert State Prison
                7   PO Box 650
                8   Indian Springs, NV 89070

                9
              10
              11                                                          An employee of the
                                                                          Office of the Attorney General
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